Case 20-10343-LSS   Doc 1204-2     Filed 08/31/20   Page 1 of 16




                        Exhibit B

                         Redline
             Case 20-10343-LSS   Doc 1204-2   Filed 08/31/20   Page 2 of 16




                                                   HOTEL & LEISURE



     Proposal for a Comprehensive Appraisal
              The Summit Bechtel Reserve
                Glen Jean, West Virginia




            Our Mission
 Providing thorough and thoughtful
analysis to our clients in all sectors of
       the hospitality industry
                                                          hladvisors.com
          Case 20-10343-LSS        Doc 1204-2      Filed 08/31/20     Page 3 of 16




August 24, 2020

Mr. Steve McGowan
Boy Scouts of America
1325 W. Walnut Lane
Irving, TX 75038
Via e-mail: tphillips@alvarezandmarsal.com, redgecombe@alvarezandmarsal.com

       RE:     Comprehensive Appraisal
               The Summit Bechtel Reserve, Glen Jean, West Virginia

Dear Mr. McGowan:

Thank you for the opportunity to submit a revised engagement letter to prepare a
comprehensive appraisal of the Summit Bechtel Reserve Boy Scout camp and the 12 regional
property holdings in the Glen Jean, West Virginia area. We are actively working on our
assignment to prepare the appraisal on the Summit Bechtel Reserve and River Run Park
parcels only. This engagement letter expands the scope of the assignment to also include
the additional property holdings including: Bridgeview, Teay’s Landing, Craig’s Ranch,
Cunard, Stone Cliff, First Destination Park, Glen Jean Properties, Brooks, Terry Beach, and
Sandstone.

Based on our hospitality experience and our understanding of the proposed facility concepts,
I am confident that H&LA is well qualified to respond to your consulting requirements. We
have developed sophisticated and innovative research techniques, resulting in thorough
analyses that incorporate in-depth local, regional, and state market information. For
additional information about our firm, our company qualifications are included with this
proposal. Over the years, H&LA has served more than 700 clients on a variety of projects.
Upon request, we will provide you with a list of references relevant to your project whom you
can contact.

To proceed with our engagement, please sign this proposal and return it to our office with a
retainer check. I look forward to working with you on this assignment. If you have any
questions or require any additional information, please contact me.

Sincerely,

Hotel & Leisure Advisors, LLC




David J. Sangree, MAI, ISHC
President




Cleveland, Ohio ● 216-228-7000              www.hladvisors.com              San Antonio, Texas ●
210-319-5440
    Corporate Headquarters: 14805 Detroit Avenue, Suite 420, Cleveland, Ohio 44107-3921
        Case 20-10343-LSS         Doc 1204-2      Filed 08/31/20    Page 4 of 16




                     Proposal for Consulting Services for the
               The Summit Bechtel Reserve, Glen Jean, West Virginia

   I. Comprehensive Appraisal

OBJECTIVE

The objective of this engagement is an appraisal of The Summit Bechtel Reserve in Glen
Jean. We understand the facility includes over 13,000approximately 14,000 acres of land
and a nationally recognized Boy Scout camp. The appraisal will include a robust highest
and best use analysis including a market analysis on the campground resort market. It is
our understanding that the estimate of market value will be used for internal valuation
purposes. The appraisal will conform to Uniform Standards of Professional Appraisal
Practice (USPAP) and Office of the Comptroller.

SCOPE OF WORK

Before beginning our study, we will confer with you to determine the exact scope of the
project and address specific issues or requests you may have. We will identify any
confidentiality issues in connection with the project. In preparing the assignment, our
scope of work is as follows:

Fieldwork and Data Collection:

      Prepare and issue a data request list to the client representative

      Travel to the subject site to inspect the subject property, meet client
       representatives, and conduct fieldwork

      Review property data such as uses of various land parcels, balance sheet,
       historical and future financial forecasts, capital investment, usage levels, site &
       building plans, tax & zoning information, etc.

      Review previous work, relationships, market research, and information concerning
       the subject and the market

      Analyze the subject site, including traffic counts, access, visibility, proximity and
       travel time, nearby visitor attractions, nearby corporate and group demand
       generators, and various development in the market

      Review the overall development master plan and projected development within
       the neighborhood

      Interview real estate brokers in the West Virginia area concerning comparable
       land and campground resort sales

       Meet with managers of the subject property including general manager, facilities
        manager, controller, etc.
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    Corporate Headquarters: 14805 Detroit Avenue, Suite 420, Cleveland, Ohio 44107-3921
        Case 20-10343-LSS       Doc 1204-2     Filed 08/31/20    Page 5 of 16
Proposal for Comprehensive Appraisal
Mr. Steve McGowan
Page 2


      Research information and/or meet with representatives of the local convention
       and visitors bureau, chamber of commerce, city officials, county officials,
       economic development officials, and assessor's office to collect information
       concerning the subject and region

Analysis:

      Present a national overview of the campground resort industry and/or other
       appropriate industry sectors, analyzing the growth of the industry and potential
       concerns for the future

      Analyze historical financial performance of the subject property including usage,
       revenues, and expenses

      Review the current and projected development within the neighborhood

      Assess the economic and demographic factors of the general area to determine
       the economic environment of the subject and the sources from which business is
       generated within the area. This will include a review of the local and larger
       region’s   population, household    growth,   employment,     income   levels,
       transportation, etc.

      Examine the zoning of the various parcels of land and determine the number of
       acres that are zoned for commercial, agricultural, forestry, and residential uses

      Analyze potential land developments for the subject site to provide a basis for the
       analysis of comparable land sale parcels

      Analyze the potential performance of the subject venue to determine its operating
       potential as an independent for-profit business

      Analyze the current market of land buyers, sellers, and new project developers

      Analyze land sales and current listings to determine prices per square foot and
       trends in pricing

      Identify new projects that are under construction, planned, or proposed in the
       market

      Evaluate trends in the supply of and demand for land in order to estimate the
       future pricing trends

      Utilize the sales comparison approach to estimate the value of the land as is. We
       may need to perform multiple sales comparison approaches depending upon the
       zoning and uses of individual land parcels within the overall approximately
       13,00014,000 acres.

      Identify comparable resort sales and utilize the sales comparison approach to
       estimate the value of the improved campground resort portion of the overall
       development
        Case 20-10343-LSS        Doc 1204-2     Filed 08/31/20    Page 6 of 16
Proposal for Comprehensive Appraisal
Mr. Steve McGowan
Page 3

      Consider the income capitalization approach for the subject and determine if
       sufficient data is available to prepare the approach assuming its operation as a
       for-profit venture instead of its current nonprofit model

      Consider the cost approach and determine if it is inappropriatean appropriate
       analysis methodology

Narrative Report: We will communicate our findings in a comprehensive appraisal
report that will provide information concerning the subject property and our opinion of
value. The appraisal report’s market analysis section will study trends in various market
segments as part of a highest and best use analysis that may consider, among other
things, the subject’s potential as a for-profit campground resort. We will consider the
income capitalization approach, sales comparison approach, and cost approach to value
as applicable, but will primarily focus on the sales comparison approach. We will
communicate to you our opinion of market value of the real estate in conformity with the
Uniform Standards of Professional Appraisal Practice. We will provide an estimate of
market value “as is.”

   II. Litigation Support

David Sangree, MAI, CPA, ISHC is available to provide litigation support and testimony
concerning the appraisal report. I have testified at numerous local, state, and federal
courthouses.

Project Qualifications and Experience

Our consultants are national experts in the analysis of all types of leisure properties. We
have prepared more than 3,000 studies on a wide range of hotels and leisure properties
in the United States and Canada. We have completed 20 campground resort studies in
the United States in the last 10 years. With your project in mind, below is a sample of
projects we have completed over the years that are similar to yours in property type or
scope of services. A complete list of all H&LA projects can be found at our website.


                                         Jellystone Park Camp Resort – Larkspur,
                                         Colorado: Market Feasibility and Financial
                                         Analysis    Study     on   the  expansion  and
                                         redevelopment of the Jellystone Larkspur
                                         campground. We analyzed the historical
                                         financials and positioning of the campground to
                                         determine if additional recreational amenities
                                         were viable for guests of the campground and
                                         for other local residents.


Frontier Town Campground – Berlin, Maryland: Market
Feasibility and Financial Analysis Study that studied the
campground as part of the analysis of redevelopment of
the waterpark at the subject site. We analyzed the
occupancy, ADR, and sources of business for the
campground to assist in determining waterpark usage.
The waterpark’s location adjacent to the campground
        Case 20-10343-LSS      Doc 1204-2    Filed 08/31/20    Page 7 of 16
Proposal for Comprehensive Appraisal
Mr. Steve McGowan
Page 4

was its strongest attribute since most visitors to the waterpark were projected to be
campground guests.

                                       Maddox Family Campground – Chincoteague
                                       Island, Virgina: Market Feasibility and Financial
                                       Analysis Study on the expansion of existing
                                       facilities. We analyzed the competitive set of
                                       campgrounds in the area and considered their
                                       amenities      when     suggesting     additional
                                       recreational amenities to develop at the existing
                                       campground.



Cook Riverside Cabins – Barnett Township,
Pennsylvania: Appraisal and Market Analysis
Report for the cabins, gift shop, and seasonally
operated cafe. We completed a detailed analysis of
demand generators within the market and
analyzed historical financial performance of the
subject, including reviewing daily, monthly, and
annual occupancy; ADR; and financial figures.


                              Jellystone Park Camp and Resort – East Drumore
                              Township, Pennsylvania: Appraisal and Market Analysis
                              report for the full-service campground and RV park. The
                              property offers 203 rental sites including 44 cabins, 159
                              RV sites, an outdoor waterpark, retail store, fishing pond,
                              sand volleyball, basketball court, 18-hole miniature golf,
                              gem mining, pedal cart track, golf cart rentals and a
                              playground.



Kalahari Resorts – various locations: H&LA has
prepared market feasibility and financial analysis
studies, economic impact studies, and appraisal
reports for various Kalahari Resort properties in
Ohio, Pennsylvania, Texas, Wisconsin and other
potential markets. We have worked directly with
Kalahari Resorts, as well as with various developers
interested in developing the Kalahari brand in
different markets. Kalahari Resorts are full-service vacation destinations with large
conference centers.

                                  Great Wolf Lodge Properties – United States and
                                  Canada: Over the years, Hotel & Leisure Advisors has
                                  worked with several different clients in preparing
                                  various consulting assignments for 13 Great Wolf
                                  Lodge properties in the United States and Canada.
                                  These studies included appraisals, feasibility studies,
        Case 20-10343-LSS       Doc 1204-2     Filed 08/31/20    Page 8 of 16
Proposal for Comprehensive Appraisal
Mr. Steve McGowan
Page 5

and general consulting analyses. Great Wolf Resorts is the largest indoor waterpark
company in North America, with 16 properties in the U.S. and Canada.


References

Mark Rantala
President Economic Development Opportunity Advisors, LLC
Former Executive Director Lake County Ohio Port and Economic Development Authority
440-759-3261
markrantala@icloud.com
Market and financial feasibility Studies for proposed hotels and/or indoor waterpark
resorts at five different locations in Lake County, Ohio

Mr. Gerald Svoboda
Vice President, Chief Appraiser
Comerica Bank
(313) 222-6172
gfsvoboda@comerica.com
Multiple appraisals for hotels, arenas, and recreational properties throughout the United
States

Carol Dixon
Assistant Vice President Secured Credit
First Commonwealth Bank
(O) 724-463-2440
CDixon@fcbanking.com
Multiple appraisals for campgrounds, hotels, and other leisure properties in the United
States

Fees & Payment Schedule


                                     Project Fees
                 Component                                       Fee
  I - Comprehensive Appraisal                               $25,00038,000
                                                   $450 per hour for testimony and
  II - Litigation Support                          preparation time; $350 per hour
                                                             for travel time
  Travel, subsistence, and out-of-pocket      Not to exceed $2,5003,500 for Component
  expenses,                                         I; additional for Component II

These fee estimates are subject to revision if the scope of the engagement is altered. In
such an event, we will discuss the matter with you so that a mutually acceptable revision
can be made. Our price quote is valid for 90 days from the date of this proposal.
Projected expenses exclude any applicable state sales taxes. If at any point during the
engagement a decision is made to discontinue our services, our professional fees will be
based on the time expended through that date.
         Case 20-10343-LSS      Doc 1204-2      Filed 08/31/20    Page 9 of 16
Proposal for Comprehensive Appraisal
Mr. Steve McGowan
Page 6



                                  Payment Schedule

  We require a 50% retainer prior to beginning the assignment.
  After conclusion of our fieldwork, we will issue an invoice for 25% of the project fee.
  This payment is due prior to our issuing the draft report.
  The final invoice (balance plus expenses) will be sent with the draft copy of the
  completed report. Payment of this invoice is required prior to our issuance of final
  reports. Hard copies of the report are available upon request for an additional fee.
  Any revisions to the report made within 30 days of issuance of the draft are included
  in the fee. Any revisions after 30 days will require an additional 10% of the project
  fee. If we do not receive any revisions within 30 days, we will issue the final report,
  provided we have received payment of the final invoice.
  Any invoice that is 60 days past due is subject to a 1.5% monthly finance charge.
  Client agrees to pay any fees incurred as a result of collections activity.

We will negotiate fees for any additional services when you request them. Our consulting
services are available at a rate of $150-$450 per hour, depending on the staff person
involved, or we will issue a specific fee quote once the scope of additional services is
determined.

Timing

We can begin work immediately and plan to provide you with the report documenting our
conclusions within 40 to 60 days of receiving the retainer payment and the signed
engagement letter. We will work with your appointed representative to ensure the
required data is made available. The delivery date of the draft and final reports is
contingent upon receiving the data requested for the property on a timely basis.

We will communicate with you on a regular basis throughout the project and update you
as needed on our progress. Chronologically, we will:

      Issue a data request list indicating items needed to review as part of our analysis.

      Schedule appointments to meet with you and tour the subject site and
       local/regional market. Our fieldwork will include visits to a range of comparable
       land sales and comparable facilities.

      After conclusion of fieldwork, we will conduct additional research and interviews
       and analyze additional data to prepare the report. It typically takes a few weeks
       to analyze the data and an additional few weeks to write the report.

      Execute internal review of the report for quality control purposes.

      Issue the report in draft format within the timeframe specified in the proposal.
       After you review the draft, we will issue the final version of the report, including
       addenda items.


Conditions
       Case 20-10343-LSS       Doc 1204-2     Filed 08/31/20    Page 10 of 16
Proposal for Comprehensive Appraisal
Mr. Steve McGowan
Page 7


The report will be prepared in accordance with our Standard Conditions, which are
attached. To indicate your acceptance of this proposal, please sign this proposal and
return it to us with a retainer of 50% as authorization for us to proceed with the
engagement.

As a material inducement for Hotel & Leisure Advisors to enter into this agreement for
services and for value received, and the consideration of Hotel & Leisure Advisors’
performance in providing appraisal and consulting services for the client, the signature
on this letter guarantees the company's timely payment of this agreement. This includes,
but is not limited to, the payment of any and all sums due pursuant to the agreement.
This guarantee applies to appraisal and consulting services that have been rendered prior
to the above date and appraisal and consulting services that are rendered after the
above date.

The terms of this agreement shall be interpreted and construed in accordance with the
laws of the State of Ohio. The client hereby submits to the nonexclusive jurisdiction of
the court having jurisdiction in the County of Cuyahoga, State of Ohio, and agrees not to
raise and waive any objection based upon forum non conveniens. Thank you for this
opportunity to be of service. We look forward to working with you on this assignment.


Hotel & Leisure Advisors, LLC




David J. Sangree, MAI, ISHC
President
       Case 20-10343-LSS       Doc 1204-2     Filed 08/31/20   Page 11 of 16
Proposal for Comprehensive Appraisal
Mr. Steve McGowan
Page 8

By signing below, I agree to the fees and terms associated with component(s)
___________ as described in the attached proposal. I agree to pay fees for the report in
the amount of ____________ plus expenses no greater than ___________________. I
have read and understood the proposal and the attached standard conditions, and I
agree to the terms and conditions therein.


___________________________________________________
Signature

___________________________________________________
Name (print)

___________________________________________________
Title

___________________________________________________
Company

___________________________________________________
Date
       Case 20-10343-LSS      Doc 1204-2   Filed 08/31/20     Page 12 of 16
Proposal for Comprehensive Appraisal
Mr. Steve McGowan
Page 9

                  SAMPLE TABLE OF CONTENTS FOR APPRAISAL
                            TABLE OF CONTENTS

A.   INTRODUCTION
       Executive Summary                                                        A-1
       Property Identification                                                  A-3
       Property Ownership, Recent History, and Operational Assumptions          A-3
       Scope of the Assignment                                                  A-8
       Purpose and Intended Use of the Appraisal                                A-8
       Effective Date of Valuation                                              A-9
       Property Rights Appraised                                                A-9
       Exposure Time and Marketing Period                                       A-9
       Definitions of Value and Other Pertinent Terms                           A-9
       Standard Conditions                                                     A-10
       Extraordinary Assumptions and Hypothetical Conditions                   A-13
       Competency of Consultants                                               A-13

B.   DESCRIPTIVE DATA
       Area and Demographic Review                                             B-1
       Neighborhood Analysis                                                  B-15
       Zoning and Real Estate Taxes                                           B-17
       Description of Land                                                    B-18

C.   MARKET ANALYSIS
       Campground Resort Market Overview                                        C-1
       Historical Performance of The Summit Bechtel Reserve                    C-15

D.   HIGHEST AND BEST USE
       Introduction                                                             D-1

E.   INCOME CAPITALIZATION APPROACH
       Introduction                                                            E-1

F.   SALES COMPARISON APPROACH
       Introduction                                                             F-1
       Units of Comparison                                                     F-10

G.   COST APPROACH
       Introduction                                                             G-1

H.   RECONCILIATION                                                             H-1

I.   CERTIFICATION                                                                  I-1

     ADDENDA
       Qualifications of Consultants                                     Addendum
A
        Survey Report                                                    Addendum
B
        Legal Description                                                Addendum
C
       Case 20-10343-LSS      Doc 1204-2   Filed 08/31/20   Page 13 of 16
Proposal for Comprehensive Appraisal
Mr. Steve McGowan
Page 10

        Copy of Engagement Letter                                      Addendum
D
           Case 20-10343-LSS              Doc 1204-2   Filed 08/31/20     Page 14 of 16
Proposal for Comprehensive Appraisal
Mr. Steve McGowan
Page 11

Standard Conditions: The following Standard                   assumes to be reliable and accurate. Some
Conditions apply to real estate consulting                    of this information may have been provided
engagements and appraisals by Hotel & Leisure                 by the owner of the property. Neither the
Advisors, LLC (H&LA). Extraordinary Assumptions               consultants nor H&LA shall be responsible
are added as required.                                        for the accuracy or completeness of such
                                                              information including the correctness of
1.     The report is to be used in whole and not in           public records or filings, estimates,
       part. The report, engagement letter and                opinions, dimensions, sketches, exhibits,
       these standard conditions constitute the               and other factual matters.
       entire   understanding     and    agreement
       between the parties with respect to the         5.     The report may contain prospective
       subject matter hereof and supersedes any               financial information, estimates, or opinions
       and all prior or current agreements or                 that    represent     the    consultants’   or
       understandings     between     the   parties,          appraisers’ view of reasonable expectations
       whether in writing or orally. The report and           at a particular point in time. Such
       engagement letter may not be amended                   information, estimates, or opinions are not
       except in writing signed by the parties                offered as predictions or as assurances that
       hereto. These standard conditions shall                a particular level of income or profit will be
       survive the completion of the assignment.              achieved, that events will occur, or that a
                                                              particular price will be offered or accepted.
2.     Publication of the report or engagement                Actual results achieved during the period
       letter without the prior written consent of            covered by H&LA’s prospective financial
       H&LA is prohibited unless otherwise stated             analyses will vary from those described in
       in the letter of engagement. Neither the               the report, and the variations may be
       report nor engagement letter may be used               material. The financial projections stated in
       by any person other than the party to                  the report and any opinions of value are as
       whom they are addressed nor may they be                of the date stated in the report. Changes
       used for purposes other than that for which            since that date in external and market
       they     were    prepared.     Neither    the          factors or in the property itself can
       engagement letter, nor the report, nor their           significantly affect property value or
       contents, nor any reference to the                     performance.
       appraisers or H&LA or any reference to the
       Appraisal Institute, International Society of   6.     H&LA has not considered the presence of
       Hospitality Consultants, American Institute            potentially    hazardous      materials and
       of Certified Public Accountants, or the                contaminants such as asbestos, urea
       American Institute of Architects, (or the              formaldehyde foam insulation, toxic waste,
       MAI, ISHC, CPA or AIA designations) may                PCBs, pesticides, mold, lead-based paints,
       be included or quoted in any offering                  or other materials. The appraisers and
       circular    or    registration    statement,           consultants are not qualified to detect or
       prospectus, sales brochure, other appraisal,           report on hazardous material contamination
       loan, or other agreement or document                   and H&LA urges the client to retain an
       without H&LA’s prior written permission, in            expert in this field if desired.
       its sole discretion. Moreover, “H&LA” is a
       registered trademark of Hotel & Leisure         7.     Unless noted, H&LA assumes there are no
       Advisors, LLC. The client agrees that in               encroachments,      zoning   violations, or
       event of a breach of this Section 2, in                building violations encumbering the subject
       addition to any other rights and remedies of           property. It is assumed that the property
       H&LA, and hereby consents to injunctive                will not be operated in violation of any
       relief.                                                applicable government regulations, zoning,
                                                              codes,    ordinances,    or   statutes.  No
3.     No responsibility is assumed for the legal             responsibility is assumed for architectural
       description or any matters which are legal             design and building codes. The analysis and
       in nature. Title to the property is assumed            concept drawings included in the report are
       to be good and marketable and the                      not intended for technical purposes.
       property is assumed to be free and clear of
       all liens unless otherwise stated. No survey    8.     All mortgages, liens, encumbrances, leases,
       of the property was performed. Sketches,               and servitudes have been disregarded
       maps, photos, or other graphic aids                    unless specified otherwise.
       included in the reports are intended to
       assist the reader in ready identification and   9.     Real estate consulting engagements and
       visualization of the property and are not              appraisal assignments are accepted with
       intended for technical purposes.                       the understanding that there is no
                                                              obligation  to   furnish   services  after
4.     The   information  contained    in   the               completion of the original assignment. We
       assignment is based upon data gathered                 are not required to give testimony or
       from sources the consultant or appraiser               attendance in court by reason of this
          Case 20-10343-LSS             Doc 1204-2   Filed 08/31/20      Page 15 of 16
Proposal for Comprehensive Appraisal
Mr. Steve McGowan
Page 12

      analysis without previous arrangements,               Appraisal Practice and the Code of Ethics of
      and the client will be obligated to pay in            the Appraisal Institute. No other code,
      advance for the standard per diem fees and            ordinance, rule or regulation of any kind or
      travel costs.                                         nature whatsoever shall apply.

10.   No significant change is assumed in the        16.    It is agreed that the maximum damages
      supply and demand patterns indicated in               recoverable from H&LA or its affiliates or
      the report.                                           their respective employees relative to this
                                                            engagement shall be the amount of the
                                                            money actually collected by H&LA or its
11.   The quality of a lodging facility or other            affiliates for work performed pursuant to
      leisure property’s management has a direct            the      engagement      letter.   The   client
      effect on the property’s economic viability.          acknowledges that H&LA cannot and does
      It should be specifically noted by any                not       guarantee      and      makes      no
      prospective reader that the engagement                representations as to the success of the
      assumes that the property will be                     project. H&LA shall not be liable for any
      competently      managed,    leased,   and            incidental,       breach       of    warranty,
      maintained by financially sound owners                consequential       or    punitive   damages,
      over the expected period of ownership.                expenses, costs or losses whatsoever
      H&LA is not responsible for future                    directly or indirectly arising out of the
      marketing efforts and other management                services performed hereunder (including
      or ownership actions upon which actual                negligence and/or gross negligence). In
      results will depend.                                  addition, there is no accountability or
                                                            liability to any third party.
12.   The forecast of income and expenses are
      not predictions of the future. Rather, they    17.    The client hereby releases and discharges
      are the consultants’ best estimates of                H&LA,     its  directors,    officers,  and
      current market thinking on future income              employees, from and against any and all
      and expenses. We do not warrant that the              claims and demands of any nature or kind
      estimates will be obtained, but that they             whatsoever arising as a result of the
      have been prepared in a conscientious                 design, development, operations, and
      manner on the basis of information                    performance of the proposed or existing
      obtained during the course of this study.             project. The client furthermore agrees to
                                                            indemnify, defend and hold harmless H&LA
13.   The subject property is valued assuming all           and its directors, officers and employees,
      items of furniture, fixtures, equipment,              from any and all claims of any nature
      working capital, and inventory are in place.          whatsoever,    including    attorney   fees,
      Should items essential in the operation of            expenses and costs.
      the hotel prove to be missing, we reserve
      the right to amend the opinion of value        18.    The report does not address the project’s
      expressed in an appraisal report.                     compliance with the federal statute
                                                            commonly known as the Americans with
14.   H&LA does not, as part of this consulting             Disabilities Act as well as regulations and
      report or appraisal, perform an audit,                accessibility    guidelines    promulgated
      review, or examination (as defined by the             thereunder.
      American Institute of Certified Public
      Accountants) of any of the historical or       19.    The provisions of the report, the
      prospective financial information used and            engagement letter and these standard
      therefore, does not express any opinion               conditions shall be severable, and if a court
      with regard to it.                                    of competent jurisdiction holds any
                                                            provisions of the report, engagement letter
15.   The consulting engagement or appraisal                and these standard conditions invalid,
      report has been prepared in accordance                illegal or unenforceable, the remaining
      with the Uniform Standards of Professional            provisions shall nevertheless remain in full
                                                            force and effect as written.
  Case 20-10343-LSS     Doc 1204-2    Filed 08/31/20   Page 16 of 16




                              Summary report:
  Litera® Change-Pro for Word 10.9.0.460 Document comparison done on
                           8/31/2020 2:45:03 PM
Style name: Sidley Default
Intelligent Table Comparison: Active
Original filename: Trevor Phillips Summit Camp West Virginia - No Cover
Page.doc
Modified filename: Steve McGowan Summit Camp West Virginia II.doc
Changes:
Add                                                        41
Delete                                                     5
Move From                                                  0
Move To                                                    0
Table Insert                                               0
Table Delete                                               0
Table moves to                                             0
Table moves from                                           0
Embedded Graphics (Visio, ChemDraw, Images etc.)           7
Embedded Excel                                             0
Format changes                                             0
Total Changes:                                             53
